            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                              1:17 CR 91

UNITED STATES OF AMERICA,                    )
                                             )
      v.                                     )            ORDER
                                             )
VICTOR GREGORY JONES                         )
                                             )
                 Defendant.                  )
____________________________________         )


      Pending before the Court is a Violation Report [# 48] filed by the United

States Probation Office alleging that Defendant had violated terms and conditions of

his pretrial release. On December 1, 2017, the Court held a bond revocation hearing.

Defendant was present with his counsel, Richard E. Cassady, and the Government

was present through AUSA John D. Pritchard. From the evidence offered and from

the statements of the Assistant United States Attorney and the attorney for

Defendant, and the records in this cause, the Court makes the following findings.

      Findings:    At the call of the matter, the Defendant, through his attorney,

admitted the allegations contained in the Violation Report. The government then

presented testimony through United States Probation Officer Jonathan Mason.

      The Defendant was charged in a bill of indictment filed on August 1, 2017,

with: one count of possession with intent to distributing Alprazolam, in violation of

21 U.S.C. § 841(a)(1); one count of unlawful use and possession of a firearm in



    Case 1:17-cr-00091-MR-WCM       Document 51     Filed 12/04/17   Page 1 of 5
furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A); and

one count of unlawful possession of a firearm while being an unlawful and addicted

user to a controlled substance, in violation of 18 U.S.C. § 922(g)(3).

      On September 20, 2017, the Court held a bond review hearing. Defendant

was ordered to be released on a $25,000 unsecured bond with pretrial supervision.

The Court released Defendant on terms and conditions of pretrial release [# 28]

which included the following:

      (1)    The defendant must not violate any federal, state or local law while on
             release;

      (8)(p) refrain from use or unlawful possession of a narcotic drug or other
      controlled substances defined in 21 U.S.C. §802, unless prescribed by a
      licensed medical practitioner.

      8(s) participate in one of the following location monitoring program
      components and abide by its requirements as the pretrial services officer or
      supervising officers instructs.

             (ii) Home Detention. You are restricted to your residence at all times
             except for employment; education; religious services; medical,
             substance abuse or mental health treatment; attorney visits; court
             appearances; court-ordered obligations; or other activities pre-approved
             by the pretrial services office or supervising officer.


      On October 19, 2017, the Court accepted Defendant’s plea of guilty to counts

one of the indictment [# 36]. While still released on bond and awaiting sentencing

by the District Court, Defendant violated his terms of release.

      On November 29, 2017, Defendant was arrested for violating his conditions

                                          2

    Case 1:17-cr-00091-MR-WCM        Document 51     Filed 12/04/17      Page 2 of 5
of supervised release. On December 1, 2017, Defendant appeared before the Court

for a detention hearing regarding Defendant’s violation.

         On October 11, 2017, and October 23, 2017, Defendant was away from his

approved residence without prior authorization. On October 12, 2017, Defendant

used methamphetamines and marijuana. On October 24, 2017, Probation Officer

Mason was able to contact Defendant and take a urine sample for drug analysis. On

that same date, Defendant admitted to Officer Mason that he used

methamphetamines and marijuana on October 12, 2017. The sample collected from

Defendant tested positive for cannabinoids, amphetamines, and oxycodone. At the

hearing on December 1, 2017, Defendant admitted to these violations.

         Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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         (1)    finds that there is----
                (A) probable cause to believe that the person has committed a
         Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
          other condition of release; and
         (2) finds that ---
                (A) based on the factors set forth in section 3142(g) of this title, there
         is no condition or combination of conditions of release that will assure that
         the person will not flee or pose a danger to the safety of any other person or
         the community; or
                (B) the person is unlikely to abide by any condition or combination
         of conditions of release.

         If there is probable cause to believe that, while on release, the person
                                             3

        Case 1:17-cr-00091-MR-WCM       Document 51     Filed 12/04/17    Page 3 of 5
      committed a Federal, State, or local felony, a rebuttable presumption arises
      that no condition or combination of conditions will assure that the person will
      not pose a danger to the safety of any other person or the community.

      Based upon the evidence, the Court finds there is probable cause to believe

that Defendant has committed a federal and state crime while on release. The

possession and consumption of marijuana is a misdemeanor under federal law, 21

U.S.C. § 844 and is a felony under state law, N.C.G.S. § 90-95(a)(3). Due to the

fact there is probable cause to believe that Defendant committed a state felony, a

rebuttable presumption arises, pursuant to 18 U.S.C. § 3148 that no condition or

combination of conditions would assure that Defendant would not pose a danger to

the safety of any other person or the community.

      There has further been shown by clear and convincing evidence that

Defendant violated the condition of release that ordered him to refrain from use or

unlawful possession of a narcotic drug unless it was prescribed by a license medical

practitioner. Defendant has clearly violated this condition by using marijuana,

amphetamines, and oxycodone—drugs that were not prescribed by a licensed

medical practitioner.

      Finally, it has been shown that Defendant violated the condition of release that

ordered him to participate in home detention. Defendant violated this condition by

not being present at his approved residence multiple times.

      Due to the findings made above and further considering the presumption that

                                          4

    Case 1:17-cr-00091-MR-WCM       Document 51      Filed 12/04/17   Page 4 of 5
has been created and also considering the factors as set forth under 18 U.S.C. §

3142(g), it appears there is no condition or combination of conditions of release that

will assure that Defendant will not pose a danger to the safety of any other person or

the community. It is the opinion of the Court that, based upon Defendant’s actions,

it is unlikely that Defendant will abide by any condition or combination of conditions

of release.

      As a result of the above referenced findings, the Court has determined to enter

an order of revocation revoking the unsecured bond and the terms of pretrial release

previously issued in this matter and entering an order detaining Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond [# 29] and terms

and conditions of pretrial release [# 28] entered in this matter are hereby REVOKED

and it is ORDERED that Defendant be detained pending further proceedings in this

matter.


                                   Signed: December 4, 2017




                                          5

    Case 1:17-cr-00091-MR-WCM        Document 51        Filed 12/04/17   Page 5 of 5
